] A.ibcrt i\/Iati`c:i, Esquire
LAW ()i"F`leiE, L.I',JC

2 A`BA No. 53 1 1009

3328 L'a§<e Otis Pzzrkway

3 Anch<)rage, Alaska. 995()7
Teicphone: (907) 277~2503
4 F'acs.imi.le: (90'7) 277-1239
e-mz»ii]: almaffei@alaska.net
5 A.tt.orne'y for Pia:imiff

 

6 ALBER”£` 1\.4[!~'\}?`13`]§£1 )
)
7 Plaint_iff, ) C&S-e `No. 3:{)8~011~ -
8 )
vs. )
9 )
.l 0 `[_Z'N"l"`l`"ii‘:`,`i`.`) S",`l_`A'I`HS (`)_i" A_M];`."§R_`ICA. ) COM'PLAINT
` )
l 1 D€.f@ndan’£, `)
3
`12
13 ` .~ . . . `
COM¥:ZS NOW piamtlf.f` and for cause of action against the defendant,
14
1._ claims and alleges eis fo]lczwsz
. 3
36 FACTUAL BACKGROUND
17 `I:.
18 Yl"he piaintii“`f. .Ai`bert M.affei, at all tin~)es alleged he.rein, Was and is a

19 citizen ofzhe Unilcd Sm:tes of America and a resident of the mate of Alaska curren€ly

20 residing sit 8328 I.,zzke Oti.$ `Park.way, A_nc§.mragc; Alasi<a, 995()7.
21
22
23

Albert Mai`fei V. limited S¥ate$ c)fAmerica
34 Case Nc). 3:03~<:'V~ mm- W~
C<)mp.lain.t

Pagr~:~ l 0f13

 

 

 

 

 

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 1 of 13

00 \l O\ Lh -l:- we

w

 

 

11.

'1`his ease arises due to the actions of the United Stetes Air 1"‘oree through
its agency 311`PKBB-AK Ai.r Porce `Matei.'iai Coinmnn.d concerning its contract With
Lueiano Genel'al LLC for remediation of soils at Coi<i Bziy, Alaska.

.`i.l.l.

'1"he contract Was administered by Linda Feilows, the Contraeting Ofiicer
end emp}oyee of 311PKBB-AK Air Fo.ree Material Command, en agency of the l.Jni.ted
States of Am_eriea,

IV.

In .1'es_'po.n.se to 21 solicitation issued by 3].1P.KBB~AK1"o.r a firm price
contract for remediation of soils in Cold Bny, Aleske, 3111’KB13~AK, on lime 2.1, 2001,
entered into a Soie Sonrce Negotiated Serviee Contraet W.i£‘h Luei.ano Gen.er.zi.l LLC o:t_`
An_cho'rage, Alaska, nn 8»~./\ contracto'r, a designation issued by the Smali Busi.ness
Administmtion, an agency of the Un.iteci States of America, for the purpose of providing
la'bo r, m aterials, equipment and transportation to eompiete soil remediation at Col<:i Bay,
Alaskn..

v\/'.

A firm fixed etdntrzaet for a total Sum 01` $2,527,{}30.00 was issued to

Albert M,affei v. United Stzites of Arnerica

Case No. 3108-ev- -
(_`fompiaint

 

Page 2 of 13

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 2 of 13

 

 

1 Luciano Genera.l LLC \)vitho'ut a requirement for a bond either in the contract or the

2 sol.i citation

3 t
V 1.
4
Tiie solicitatioi'i, the contract, and all matters concerning the same We.re-
5
6 issued under .Federal Acquisition Regulation (hereinafter referred to as "1" AR") as of

7 Jenuery 1, 2(')00.

8 \111'.

9 Gn june 4, 2001 and prior to die signing of the above-mentioned contraet,
10 Linde .iie].lows, Contrecting Ot"t'icer, issued to the recipient oi`t]ic con_trnct, Luciano
:; (._`reneral LLC, 21 limited Notice To Proceed aliowing Luciano to complete subcontract
13 acquisition scheduiing of barge transportation end material acquisition `No bond was

14 required Luciano Getlcrai, following the issuance of the limited Notice "l"o Proceed,

15 commenced negotiations for rental of equipment to remediate the soils at Co.id Bay_, as

16 well es trautspcttation of the equipment to Cold Bey, purchase of metcrials, and
17
iinz'ilizeti on of the asserted plans required by the contract
18
VIH.
1 9
20 Tiie contract Was divided in two specific po_rts, one being STO.S Whicia Wes

21 ii`or the excavation and thermal treatment ofthe contan’\ina.ted soil, and 0"_[`01 Which was

A._I bert lefiei v. United Stetes of A_rnerica
24 Cese No. 3:08~0\»’~ -
Complnint

Page 3 of 13

 

 

 

c`éée""`é§'o's`!é\'}`-'o”oosolnne Dbcumem 1 Filéd o§/é§io`s"""""i>`§§é soils

 

1 for the purpose oi`gre=ding, contouring end reinstnll.i.ng prc-seeded landfill cap material

2 over the lz-indtill.

'.J~)

lX.
4
Whi.le the soil remediation equipment Was being transported by barge to
5
6 Cold Bay, Alaska_, luciano General also commenced Work on 0"1"01 by installing 21 pre»
7 seeded landfill cap material over the landfill
8 X.
9 ln late July and early August, 2001, Remtecl.i, lnc., the company Which
10 , . . .
entered into a rental agreement With Lu.ciano for the equipment to remediate the soifs,
11
12 throt;lg,h its president, Keith C'a.rpenter, made many telephone calls and e~m'dils to Linde
», Fellows requesting 21 copy of the payment and performance bond so that R_cmtech could
l 3

14 proceed against the bond for unpaid rental and other materials and services

15 Xi.

16 .As a result ol`the constant badgering by Keith Carpenter of Remtech,

:; linda 1j ellows, contrary to the specific requirements of the FAR., demanded that Lucinno
1 9 Gener:il immediately furnish n payment end performance bond and required that all Work
20 on the contract cease untit the bondth been furnished

21

22

23

Albert i‘vlnl`fei v. Unitcd Stetes of Amcrica
24 Case No. 3108-cv v
Complnint

 

Puge¢l of13

 

 

 

 

 

moose szoe-cv-oooso-nne Documemi Filed o§/ée/oe Pa§ém¢t otis
_

6

`-l

18

 

 

Xl`lf.
Linda Fel.lows, at that 'ti,ine, knew or should have known that Luciano
General did not have tire financial ability to furnish a payment and performance bond
without an adequate indemnity agreement being provided by a person or entity that had
sufficient assets to satisfy the bonding company requirements
X_l_`ll,
linda iiellows knew or should have known at the time the request for
bond was made that iin.ciano General did not have the assets or finances necessary for
payroll and material acquisition Linda Fel`lows Was aware that .Edwin aniano, owner of
l.,uc:iano Gcncral, was being tinancially assisted by his father-i:n-`l.aw, the plaintiff herein,
for the purpose of providing tends through First Nationai Banl< Alask.a loans to finance
the payroll and material acquisitions for the project
XI.V.
in order for the contract to proceed and in order to prevent defanit on the
ioans to F-irst National Ba.nl< Alaska, the plaintiff agreed to indemnify a payment and
pert`<_)rrnance bond
XV.
l.,ociano Creneral, W.ith the assistance from S-A contractor, Mapco of San
Antonio, "l`ex'as issuing a ietter of credit and the plaintiff executing an indemnity
Alhert Mal"f:`ei V. United States ofAmei‘ica

Case No 3108-exh -
Coniplaint

 

Page 5 ot`13

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 5 of 13

 

 

U)

6

16

 

 

agreement, mls able to provide a payment and perfolmzmce bond from Lu.mhet“mens
Casun¥'ty C`lon‘lpany, Which bc)n<i Wa-S issued 011 A"\;lgust lO, 2001.
XVI.
On Augu.st 3(), 2()0¥ , tess than thirty days after the bond been issued to the
contracting ofiicer, R,€m:tec.lm jl`nc., the rental contract creditor c)‘f" I_,uc~.ianc) (}eneral, .t"lled a
claim agztinst the payment and per;t`o:l'mamce bond for delinquent rent and Othe:l' costs.
X‘\"H.
On October, 18, 2001` R_emtec:h, Inct filed n civil station in the United
States Dis‘n~ict Com‘t t`or the District of Alaska under Case Nc). At)}.-Z»»OS)-CIV (JWS)
against j[A.¢um`bcrmens Mutual Cinsualty C.c)mpany, L'ucizm.o C.`}eneral I..,LC, and `f§£dwin
I.,ucianc>,
X\/l"l`.l‘.
Prior to an answer b@i.n.g flI<-:d, Remtech, Inc. t`li€:d nn Amended
Cc)mplaint. 011 Dec€mber ?.(), 2()()1, l‘,u:mbe'rm.ems filed its Answer and a Thi.rd-Party
(,`,omplaint against the plaintiff herein ench his daughter_, Gin.a `B. incia.no, Wh,o also Was
nn indemnitor under the indemnity agreement
.XIX.
After a jury trial, th€:: Cc)uz't¢ on Februaty 16, 2()05, entered 21 judgment

against plaintiff and .Lucianc) .}`{§zlte.z=;;)rlses in the amount cf § 1 ,5 77,73 8 .'72, pl’Lz-$ interest

Albert A‘laf:t?::i v. United Statezs of Ameri<:.a
Casc `No. 3:(}8~0\'~ ~
Complaint

 

`Page 6 01"]3

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 6 of 13

 

'1. `XX,.

2 "l`he plaintiff filed an appeal to the Ninth Circuit Court of Appeais, which

*.4)

Court, on Au.gust 1, 2006, affirmed the Distri ct Coult Judgment.

4
X.X`l',

5

6 ']`he. plaintiff then reque$ted mediation and after the mediation Was

7 concluded., tile mediator entered her .Decision on October 26, 2006.

8 XXII,

9 The .Dccision of the mediator resulted in a Set'tlemcnt A.grcement And
10 4_ .

`M'u.tu.ai R,elcase entered into between Lun'.lbermcns Mutual Castzalt'y Company and

ll
v plaintiff on Decembe.e.' 13, 2006
. id
13 XXHI.
14 .A.s a reaul,t of'the mediation and the Setdement Agz.'cement` And Mutual.

13 Release, the plaintiff paid to Lumbe'rmens the sum oif"$ 1,290,249,75.

16 X'XIV.
l 7 ~ - \ 0 ~ 0 v /» . ~
.l*`oilowi.ng, the forgoing l.osa, the plai.nttf.t attempted to Settl.e this matter by
18
1 9 correspondence through the l'ion.ora.ble 'l`ed Stevens, United Sta'tes Se'nator for Aiasl<.a,

20 who Subrnitted the matter to the limited States Air Fo.rce, but such negotiations failed

A]bert Maffei v, t_§iz.itcd States ofAmerica
24 Case No. 3:08~0\»“~ -
C`.m."np,lai.n.t

 

P e70;t"13

(

£¥\
U-¢

 

 

 

 

ease 3:03-cv-00059-RRB Documem 1 Filed 03/23/03"` "B`§ge `7 dr 13

bd

4:.

w-~lG\L/'x

`\D

18

 

 

XX'V.

On l:)eceznl)er 5, 2()06_, pursuant to 'l"itle 28. Sect;ion 2401(1)), a tort claim
against the 'l',,i_nitcci Siates was presented in writing, to the llf)cj;')artmeni ol`ii`he Air F<)rce
specifically outlining in demil the plaintiffs claim against the Unitcd States Air Forcc.
C)n tile lird day of Octobcr, 2007, the Depart.rncnt of the Air `l"orce, in writing denied the
plaintiffs claim

`X,XVl.
l`..ess than six months have expired since the claim Was rejected
CAUSES ()F ACT}'ON
X.XVII..

’i`his action is brought under Title 28 l.l.S.C., § 1346(1:{) which provides, in
parl, as follows:

’Subject to the provisions o;f" [QS.U.S.C. §§ 2671~”680}, the district conrts.

. . , S`li.all have exclusive jurisdiction oi`civil action on claims against the

Un.ited Statc$, for money damages . . l for injury or loss of property, or

personal injury or death caused by the negligent or Wrongful act or

omission of any employee of the (Eit)i»‘ernm.cn.t while acting Wit|:iin the
scope o:l"lri$ office or em ploymcnt_, under circumstances Wlicre the Uniicd

States§ if n private person., Wo'nid be liable to the claimant in accordance

with the law oil the place where die act or omission occnrrcci.'

/~\flasl<a nos a like Sn-i_tute 09.5().250 which is similar to the federal tort
claini;s act.
ilebeit l\da'f`lei v. limited Statcs of Ainerlca
C`.ase No. 3108~0\/~ ~~~~~ - M__

Cfomplai.nt

'Page 8 of 13

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 8 of 13

 

 

1 'N_Ec;'.l',i;l(;i§i Tc:'rz:;
2 XX\/iii

Tliat tici`enciant‘$ agent Co.ntracting (.`):i`:i`iccr Lindc .Fellows, negligcntly

4

`l"niictl to ;l`ollow mandatory FAR 28-03-1 (b)(c) by requiring a Luciano (.`;iencral to provide
5
6 a performance bond when thc original solicitation and contract did not require o bond,

7 which 17 /\R further proviciccl in (b) that if n bond was rcquircd, it must bc furnished prior

8 to a notice to procccd., and i`r.u'thc.r provided in (c) that no bond shall be required after the

9 contract has been awarded it` it was not specifically required in thc contract Tlrc contract
lt`) ,
Wns never modified or arnoncleci in accordance Witli. thc iiAR.
l l
12 rl`iic ncgligcncc of Contracti.ng Oi`ficer lyinda l:"cllows- caused personal
13 injury to tlic plziiritit“i:`x
14 WR()N G.FUL A.C'l.`
l5 XXI.X
16 The failure of the Contractiug Officcr linda licilows to follow the
17
mandatory FARS constituted o Wrongi?ul act which caused personal injury to thc plaintiff
18
19 OMISSION OF AN EMPLGYEE
21 "l`hat tlic i`ailurc oi`tlic Contra.ct Ofi`icer linda i~`*`cllows to follow
22
23
All)crl .?x»'iai`i'ci v. Unitcd ~Stntcs of Aincrica
24 Cnsc `No. 3:()8-cv~ -M
25 L,otnplalnt

Pngc 9 of 13

 

 

 

 

ease 3:03;cv-000'59-FéRB"""oldi§iimem 1 Filed 03/"28/08 F'>'a§"é 9 civic
_

l\}

-~! id Uc 4a us

00

 

 

mandatory l"`AfR.S constituted an omission of an employee off the Governm_e.nt Wiiilc acting
within the scope of her office resulting in damages to the plaintiff ,
THE LAW ()F ALASKA
X.XXI.

'l"he limited Statcs, if it were a private perSon, would be liable to the
plaintiff in this case in accordance With the laws of the State of Alaska where the act and
orrii&sioiz occurrec,l, particularly Sec‘rioo AS 09.50.250.

I)I.l"”.l`Y O`F C.ARE
X`XXII.

Com'racl;ing Oflicex‘ Linda 13 cllows had a duty of care to properly :l:`ollow
the FARS in order to prevent injury or damages to foreseeable persons Such as the
plaintiff herein that may bc affected by the failure to follow the FARS.

XXXIII`.

Li.nda l;’c§lows breached this duty W_h,en linda Fellows failed lo follow the
l"`A.Rs, 'Wh:i.ch breach resulted in the damages to plaintiff

fFAILURE T(_) PR()PERLY SUPERVISE AN]) TRAIN

`XXXl\/',

'lj"hc defend.alit, llnited Slates of Arne:rica, failed to properly train and
Su.pervise the Corrtracting Ofi"lcer, linda l"`ellows, and her co-employees, which resulted
Aibert lvl_af`l"ei v. Unitcd Sta'ccs of America

Case- No. 3:08-cv- ~
Complaint

 

Page 10 of l3

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 10 of 13

 

 

l in their negligent negligent failure to follo w the mandatory FA.RS regarding the

2 requirement to furnish a payment and performance bond

*"’ ;»<XXVi
4 ,
'l`ha't this lack o'f` training and supervision resulted in rrthe damages to

5

6 _pleu.otl__iil'.

~7 COVENANT ()F (}OOD FAITH` AND FAIR DEALING

8 X`X.XVI.

9 ’l"hat the defendant and its employees_, by failing rio follow the legally
l 0

adopted l‘"`AR regarding the furnishing of per§ormance and payment honds, is a breach of

ll
12 thc covenant o'l" good faith and fair dealing
13 .XXXVII.
14 The .l%lilnr'e ofl..~inda Fellows and her co~employees to follow the

15 mandatory PAR breached the covenant of good faith and fair dealing Thcre`§)y: the

16 plaintiff WaS injured and suffered dannages.

]; WI~I.EREF(')RE, from the foregoing the plaintiff prays to recover the
l

19 following damages

20 l. Actual and economic damages as follows

.2`l (i) 'l"rans:€er of`l`lnwai.i property ito Lumbe'nncns

22 M'u't'ual insurance Company] $l,()65,019.10
23 (2`) Payoff of mortgage lien against l`~~lawaii property l 1,846.42

Alberl i\/Iai.`fei v. limited State.=s of.Arnez'ica
24 Case `No. 3103-cv- _____ ~`
Compla'int

Page l l of l 3

 

 

 

 

ease 3:03-@\}-0'6059-RRB Documem 1 Filed 03/28/08 Page 11 of 13
_

(3) "l"ransfer of A`lyoska condominium |:to `i,iiilibenneiis

2 M"utual l'nsureuice Coinpan'y] 152,0()0.00
3 (_4) Roloaso oil` funds to l_,u,mbormens from Albert Maffei _
4 hold in Registry of US Disu'iot Co'un' 51,362.23
5 (5) Pnyment of ‘517,000.00 to 1.,'umbonnons MutuaI
Insurnnce [repres<:n'ting lot in Matannskin'Boro'ugh
valne} loss credit for nlrnn.urc- m l~:l.awan
7 condominium 1 0,02] .5 0
8 (6) Payrnent to l'*`irst National Bnnk Alaskn for funds
advance to I.,uciano (_‘lono.ral as funding in order for
9 1.,uciano Genoral to proceed with Un:itod States Ai:r
10 17 orco contract 101 ,256.48
11 (7) A_tto_rney fees to Paul_ S’toc_k;ler 98,696.59
12 (8) Capital gains taxes due on transfers of:
m lillawaii Condominiurn l 54,000.00
` _Alyeska condominium l 6,000.00
14

(9) Attorneys fees owed to M_al"i"oi and its
15 succession Law Office L.`l.,C, for the yoan
2005, 2006 and 2007, after discharge of

 

 

716 Po'ul SLooklor.
17 2005: $85,5()0.00
2006: $86,640.00
18 01/01/2007 to 2/13/2007: $8,500.00 180.290.00
19 root t;)amag@g 31 34 294&2
20 1 ‘ 1 7
2. Por prejudgment interest3 attorneys fees and costs

21
22
23

.A,.lbori l\'l_affei v. Unirod Stat.os ot`Ain.erica
24 Ca.so No. 3:08“<:\"- ~
2 5 Co_l.nplzzi.nt

Pnge 12 of13

 

 

 

 

ease 3:03-cv-00059-RRB bécumem 1 Filed 03/28/08 Page 12 of 13
_

18

 

 

DAT}:`;D this ’Z'Fth day c:>l`i\/ln'rch 2008.
jl,,,A"\'V (`).`l"".lil_(§f`l'.'ii 1'.,§;,(§!

/S/ Alboit l\/§affoi
Attorney `l"or P.lziinti'l`l`
ABA `No. 5311009

All)ert l\/lal"i"`oi v, Un,ited Sta.tos of ./»\moricn
sziso`N<). 3:08~€'»/'-~____4 . ~
C.`.'oinplnii.tt

132th 13 of13

Case 3:08-cV-00059-RRB Document 1 Filed 03/28/08 Page 13 of 13

 

